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Case 3:21-cv-05624-BHS Document1-1 Filed 08/27/21 Page 1 of 9

Pro Se 1 2016

UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF WASHINGTON

Qevest Smt

 

 

 

Plaintiff(s),
Vv.
Tacoma Police, eo
ot Gic chi | iS
Defendant(s).

 

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I. THE PARTIES TO THIS COMPLAINT

A. Plaintiff(s)

Provide the information below for each plaintiff named in the complaint. Attach

additional pages if needed.

Name Chleryol 2. Sm 4h :
Street Address OAXb or. We lens aquere |
City and County T Aloma 1 WW) ae 9@® Yo

State and Zip Code ,

Telephone Number ‘oo \ D) GY Y - 04 Y 1

COMPLAINT FOR A CIVIL CASE - 1

CASENO, 3) 21-CV-CS0D4 -Bus
[to be filled in by Clerk’s Office]

COMPLAINT FOR A CIVIL CASE

Jury Trial: Al Yes LI No

 
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Case 3:21-cv-05624-BHS Document 1-1 Filed 08/27/21 Page 2 of 9

Pro Se 1 2016

B. Defendant(s)

Provide the information below for each defendant named in the complaint, whether the
defendant is an individual, a government agency, an organization, or a corporation. For an
individual defendant, include the person's job or title (if known). Attach additional pages if
needed.

Defendant No. 1

Name otic Schillen’

 

 

 

 

 

Jobor Title (Pinown) — Tacoma Policg, Deg t
Street Address

City and County q ALOM Wt

State and Zip Code :

Telephone Number

 

Defendant No. 2

Name Tacoma Police Deg
Job or Title (if known)

 

Street Address

 

City and County TACmG wt
State and Zip Code :

 

Telephone Number

 

Defendant No. 3

Name

 

Job or Title (if known)

 

Street Address

 

City and County

 

State and Zip Code

 

Telephone Number

 

COMPLAINT FOR A CIVIL CASE - 2

 
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Case 3:21-cv-05624-BHS Document 1-1 Filed 08/27/21 Page 3 of 9

Pro Se 1 2016

Defendant No. 4

Name

 

Job or Title (if known)

 

Street Address

 

City and County

 

State and Zip Code

 

Telephone Number

 

Il. BASIS FOR JURISDICTION

Federal courts are courts of limited jurisdiction (limited power). Generally, only two
types of cases can be heard in federal court: cases involving a federal question and cases
involving diversity of citizenship of the parties. Under 28 U.S.C. § 1331, a case arising under
the United States Constitution or federal laws or treaties is a federal question case. Under 28
U.S.C. § 1332, a case in which a citizen of one State sues a citizen of another State or nation and
the amount at stake is more than $75,000 is a diversity of citizenship case. In a diversity of
citizenship case, no defendant may be a citizen of the same State as any plaintiff.

What is the basis for federal court jurisdiction? (check all that apply)

() Federal question O Diversity of citizenship

Fill out the paragraphs in this section that apply to this case.
A. If the Basis for Jurisdiction Is a Federal Question

List the specific federal statutes, federal treaties, and/or provisions of the United States

Constitution that are at issue in this case.

 

 

 

COMPLAINT FOR A CIVIL CASE - 3

 
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Case 3:21-cv-05624-BHS Document1-1 Filed 08/27/21 Page 4 of 9
Pro Se 1 2016

B. If the Basis for Jurisdiction Is Diversity of Citizenship
1, The Plaintiff(s)
a. Ifthe plaintiff is an individual.
The plaintiff (name) OL ea WVU MW , is a citizen of the
State of (name) A} anh \ wet.

b. Ifthe plaintiff is a corporation.

 

 

The plaintiff, (name) Qureest Sn 4h , is incorporated under
the laws of the State of (name) A) aol Linc bow. , is incorporated under
the laws of the State of (name) , and has its principal

 

place of business in the State of (name)

 

(If more than one plaintiff is named in the complaint, attach an additional page providing
the same information for each additional plaintiff.)

2. The Defendant(s)
a. Ifthe defendant is an individual.
The defendant, (name) OES ice Scla AW wns , is a citizen of the
State of (name) “(CCOMCA 1A‘ aM Aes OW . Or is a citizen of

(foreign nation)

 

b. Ifthe defendant is a corporation.
The defendant, (name) VT QLOMA Pol we \) ept , is incorporated under
the laws of the State of (name) _ iA) agh AG bo A , and has its principal

place of business in the State of (name)

 

Or is incorporated under the laws of (foreign nation) ,

and has its principal place of business in (name)

 

(If more than one defendant is named in the complaint, attach an additional page
providing the same information for each additional defendant.)

COMPLAINT FOR A CIVIL CASE - 4

 
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Pro Se 1 2016

3. The Amount in Controversy.
The amount in controversy-the amount the plaintiff claims the defendant owes or the

amount at stake-is more than $75,000, not counting interest and costs of court, because (explain):
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Write a short and plain statement of the claim. Do not make legal arguments. State as briefly as
possible the facts showing that each plaintiff is entitled to the damages or other relief sought.
State how each defendant was involved and what each defendant did that caused the plaintiff
harm or violated the plaintiff's rights, including the dates and places of that involvement or
conduct. If more than one claim is asserted, number each claim and write a short and plain
statement of each claim in a separate paragraph. Attach additional pages if needed.

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State briefly and precisely what damages or other relief the plaintiff asks the court to order. Do
not make legal arguments. Include any basis for claiming that the wrongs alleged are continuing
at the present time. Include the amounts of any actual damages claimed for the acts alleged and
the basis for these amounts. Include any punitive or exemplary damages claimed, the amounts,
and the reasons you claim you are entitled to actual or punitive money damages.

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V. CERTIFICATION AND CLOSING

 

Under Federal Rule of Civil Procedure 11, by signing below, I certify to the best of my

knowledge, information, and belief that this complaint: (1) is not being presented for an improper

COMPLAINT FOR A CIVIL CASE - 5

 

 
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Pro Se 1 2016

purpose, such as to harass, cause unnecessary delay, or needlessly increase the cost of litigation;
(2) is supported by existing law or by a nonfrivolous argument for extending, modifying, or
reversing existing law; (3) the factual contentions have evidentiary support or, if specifically so
identified, will likely have evidentiary support after a reasonable opportunity for further
investigation or discovery; and (4) the complaint otherwise complies with the requirements of
Rule 11.

I agree to provide the Clerk's Office with any changes to my address where case-related
papers may be served. I understand that my failure to keep a current address on file with the

Clerk's Office may result in the dismissal of my case.

Date of signing: « [2 t / 2 |
Signature of Plaintiff f 4A yada

oe”
Printed Name of Plaintitt _P@elest Sms 4X

 

Date of signing:

 

Signature of Plaintiff

 

Printed Name of Plaintiff

 

Date of signing:

 

 

Signature of Plaintiff

Printed Name of Plaintiff

 

COMPLAINT FOR A CIVIL CASE - 6

 
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Case 3:21-cv-05624-BHS Document1-1 Filed 08/27/21 Page 7 of 9
E-FIL
IN COUNTY CL&
PIERCE COUNTY
July 20 2021

KEVIN S$)
COUNTY

SUPERIOR COURT OF WASHINGTON FOR PIERCE COUNTY
STATE OF WASHINGTON CAUSE NO. 21-1-01847-3

Plaintiff,
VS. DECLARATION FOR DETERMINATION OF
PROBABLE CAUSE
PREIEST DARRIN SMITH, (ADPC)
AKA
DARRIN SMITH

PREIEST DARREN SMITH

PREIEST DARRIN SMITH,

JR

PREIEST D SMITH

SARRIN SMITH PRSIEST

SMITH DPREIEST

SMITH DPREISEST

SMITH SHERMAN

Defendant.

DOB: 02/17/1973

 

ED
RK'S OFFICE
WASHINGTON

11:56 AM

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CLERK

 

MAUREEN C. GOODMAN declares under penalty of perjury:

That | am a deputy prosecuting attorney for Pierce County and | am familiar with
the police report and/or investigation conducted by the TACOMA POLICE
DEPARTMENT, incident number 2120000960;

That the police report and/or investigation provided me the following information;

That in Pierce County, Washington, on or about July 18, 2021, the defendant,
PREIEST DARRIN SMITH, did commit assault in the second degree and unlawful
imprisonment.

According to Officer Schillen's report, he and other officers were dispatched to
investigate a reported burglary in progress. The reporting party, later identified as the
defendant, had called 911 and reported that a woman had broken into his apartment
and that he had handcuffed and maced her. The original call had come in an hour

DECLARATION FOR DETERMINATION 1of3 Office of the Prosecuting Attorney
OF PROBABLE CAUSE $30 Tacoma Avenue South, Room 946
declaration.jasper Tacoma, WA 98402-2171

Main Office (253) 798-7400

 
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PREIEST DARRIN SMITH--21-1-01847-3  --3647734
earlier and 911 had tried to call back but did not get an answer.

Upon arrival, the officers were contacted by the defendant at the front entrance.
The defendant wanted the officers to go to his apartment and arrest the female. The
defendant stated that he did not know the female and that he had maced her and had
her handcuffed in the kitchen. When asked if the female had any other injuries, the
defendant stated that she had blood on her face from him “taking her down." The
officers entered the defendant's through the unlocked door and found V.D.G. in the
kitchen sitting on the floor. V.D.G. had her arms behind her back and there were plastic
handcuffs on her wrists. There was also a blue USB cable wrapped around both wrists.
V.D.G. had a bloody nose, some bruising around her chin and both eyes were swolien.
There was also bruising on her arms. Officers removed the restraints and took V.D.G.
outside. Medical Aid was summoned to evaluate V.D.G.

V.D.G. reported that she did not break into the apartment and was the victim of an
assault and being held hostage. V.D.G. appeared to possibly be under the influence of
a substance or having a mental state issue. V.D.G. stated that she was in Lakewood
and attempting to prostitute herself when the defendant picked her up and took her to
his apartment. They did not have sex but smoked methamphetamine during the night
and into the morning hours. At one point, V.D.G. attempted to leave through the front
door but the defendant prevented her from leaving. The defendant accused her of
stealing methamphetamine and was beaten and tied up over the course of a couple of
hours. V.D.G. stated that the defendant punched her multiple times and maced her.
She was tied up twice. Medical Aid reported that V.D.G. may have a broken nose and
transported her to the hospital for evaluation.

The defendant reported that he returned home at approximately 12:30 and entered
his apartment. The defendant stated he heard sounds and then found V.D.G. in his
bedroom looking for things. The defendant stated that he pepper sprayed V.D.G. in the
face and put her on the bed. The defendant stated that he put the plastic handcuffs on
V.D.G. and also used the USB cord as the handcuffs were fake. The defendant then
opened the windows and got a wet towel for V.D.G.'s face. The defendant stated he
unlocked his door with a key when he returned. The apartment complex entrances are
only accessible with a key card and there was no damage to the defendant's door. The
defendant stated that anyone could gain access using a crowbar to pry open the
deadbolt lock. When asked about the significant injuries to V.D.G.'s face, the defendant
stated that the injuries were already there and he did not cause them. When told of
V.D.G.'s allegations, the defendant stated she was lying and that he was in Seattle all
night with friends and family but would not provide any name to contact for verification.
The defendant was arrested and a search of his person revealed a baggie containing
suspected methamphetamine. The defendant stated it was not his and he did not know

how it had come to be in his possession.
DECLARATION FOR DETERMINATION 20f3 Office of the Prosecuting Attorney
OF PROBABLE CAUSE 930 Tacoma Avenue South, Room 946

declaration.jasper Tacoma, WA 98402-2171
Main Office (253) 798-7400

 
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PREIEST DARRIN SMITH~21-1-01847-3 ~3647734

| DECLARE UNDER PENALTY OF PERJURY UNDER THE LAWS OF THE STATE
OF WASHINGTON THAT THE FOREGOING IS TRUE AND CORRECT.

DATED: July 20, 2021.
PLACE: TACOMA, WA

/s/ MAUREEN C. GOODMAN
MAUREEN C. GOODMAN, WSB#
34012

Deputy Prosecuting Attorney

 

DECLARATION FOR DETERMINATION 3 0f3 Office of the Prosecuting Attorney
OF PROBABLE CAUSE 930 Tacoma Avenue South, Room 946
declaration jasper Tacoma, WA 98402-2171

Main Office (253) 798-7400

 
